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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


BRANDON REED, et. al.,                           §
                                                 §
        Plaintiffs,                              §
                                                 §
v.                                               §    CIVIL ACTION NO. 3:18-CV-1032-B
                                                 §
MIKE RAWLINGS, et. al.,                          §
                                                 §
        Defendants.                              §

                         MEMORANDUM OPINION AND ORDER


        Before the Court is Defendant’s Motion to Dismiss. Plaintiffs have failed to timely respond

and to appear at a hearing in this case. As such, the Court finds that this case should be

DISMISSED for two independent grounds: failure to prosecute and lack of standing.

                                                 I.

                                        BACKGROUND

        In the summer of 2017, the City of Dallas began considering whether to rename certain

streets and other public places currently named for Confederate figures. Doc. 18, Defs.’ App., 1. The

Mayor appointed a Task Force to investigate and to hold public meetings on the issue. Id. at 8. The

Task Force was responsible for making recommendations to City Council, which it did. Id. at 8,

34–39. On April 25, 2018, City Council, via resolution, voted not to follow the Task Force’s

recommendations regarding renaming streets, so no street names were changed. Id. at 47. According

to the City, it did not change the procedure for seeking a street name change. Doc. 17, Defs.’ Br. in

Supp. of Mot. to Dismiss, 10.

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        Plaintiffs then filed suit against the Mayor and the City Councilmembers in their official

capacities (collectively, “the City”). The crux of Plaintiffs’ Complaint seems to be their confusion on

whether the City Council Resolution on April 25, 2018, modified the Code and thus prohibits

Plaintiffs from renaming streets like Marilla or Ewing. Doc. 6, Am. Compl., ¶ 42. Plaintiffs listed only

Ewing and Marilla as streets that concern them, neither of which were submitted for City Council

review. See generally id. (presenting evidence that Ewing and Marilla were linked to the

Confederacy); Defs.’ App., 47. Plaintiffs admitted also that—at least prior to April 2018—city

ordinances specify a procedure for changing these street names. Id. ¶ 45. As the City points out, this

street-name change process may be initiated only by: “an owner of property abutting the street,” or

certain city officials or commissions. Dallas City Code § 51A-9.302(b). According to the Code, a

property owner who wishes to initiate the street-name change process must file an application that

includes a petition indicating that at least fifty-one percent of the owners of all lots abutting the

street favor the name change. Id. § 51A-9.303. Only one Plaintiff, Ishmael Muhammad, is alleged

to own property on Ewing or Marilla, although mail has not been deliverable to him at his Ewing

address. Am. Compl., ¶ 44; e.g., Doc. 31 (certified mail unexecuted). But Plaintiffs have not alleged

that Mr. Muhammad initiated the Code’s street-name change process. See Am. Compl., ¶ 44.

        Plaintiffs allege three causes of action against the City: (1) a “violation of First Amendment

right to free speech by use of content based prior restraint”; (2) a “violation of due process rights”;

and (3) a “violation of equal protection of law.” Id. at 9–12. Besides their Original Complaint, this

Amended Complaint is the only substantive briefing the Plaintiffs have filed in this case, despite

receiving an extension of time to respond to the City’s Motion to Dismiss. See Doc. 35, Defs.’ Notice

of No Responses, 1–2.

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        Named in the complaint are five individual plaintiffs and two entity plaintiffs.1 The Court has

only had direct contact with one—Plaintiff Stephen Benavides—through a telephone call on

October 5, 2018. The Court has no valid mailing address for two other Plaintiffs—Mr. Muhammad

and Brandon Reed. Mr. Muhammad and Mr. Reed were ordered to update their contact information

with the Court by October 15, 2018, but have not. Id. No Plaintiff has registered with ECF. See Doc.

33, Order Setting Status Conf., 2.

        In fact, as this case has continued, Plaintiffs have become more elusive and non-

communicative. While Plaintiffs were originally represented by counsel, their counsel filed a motion

to withdraw on August 6, 2018, which the Court granted on August 7, 2018. Doc. 14, Order

Granting Mot. to Withdraw. Since then, Plaintiffs have been proceeding pro se. But as mentioned,

the contact information they provided through their former counsel is incorrect, and they have not

responded to this Court’s orders to update that information. And despite a court order to do so, no

Plaintiff called the Court to confirm attendance at the hearing. See Order Setting Status Conf., 2.

        The City filed a Motion to Dismiss based on Federal Rules of Civil Procedure 12(b)(6) and

12(b)(1) on August 9, 2018, shortly after Plaintiffs’ counsel withdrew and left Plaintiffs to proceed

pro se. Doc. 17, Defs.’ Mot. to Dismiss. Due to the confusion around where the Motion should be

served, Defendants refiled it on August 31, 2018. Doc. 20, Am. Doc. In response to an email from




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           On September 4, 2018, the entity plaintiffs (the People’s Assembly of Dallas, and the
Commemoration Committee to Honor Roy Williams and Marvin E. Crenshaw) were ordered to appear
with counsel by October 4, 2018. Doc. 23. They have not done so, and failed to appear at the hearing.
This alone would be sufficient to dismiss them from the case. See Southwest Express Co. Inc. v. Interstate
Commerce Comm’n, 670 F.2d 53, 55 (5th Cir. 1982) (“Corporations and partnerships, both of which are
fictional legal persons, obviously cannot appear for themselves personally. . . . [T]hey must be represented
by licensed counsel.”) (quoting Turner v. Am. Bar Ass’n, 407 F. Supp. 451, 476 (N.D. Tex. 1975).

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Mr. Benavides, Defendants agreed to not oppose a motion for extension of time to respond and find

counsel, which this Court granted on September 7, 2018. Defs.’ Notice of No Responses, 2; Doc. 25,

Order Granting Mot. to Extend. The deadline for a response was October 4, 2018. Doc. 25, Order.

To date, Plaintiffs have failed to respond or request another extension.

        On October 15, 2018, the Court held a hearing to address whether any Plaintiff would

continue with the case. Not a single Plaintiff appeared, despite both this Court’s diligence in

procuring their attendance and efforts by Defendants to contact Plaintiffs. For example, the Court

telephoned both former counsel and Mr. Benavides. Former counsel had no better contact

information for Plaintiffs, and while Mr. Benavides assured the Court that all Plaintiffs had received

notice of the Court’s orders, he did not provide any updated contact information. The City even

attempted to identify a more current address for Mr. Muhammad, and forwarded this Court’s order

accordingly. Doc. 35, Defs.’ Notice of No Responses, 1–2.

        Plaintiffs’ absence alone warrants dismissal of all claims. In addition, the Court has reviewed

the City’s Motion to Dismiss and finds that Plaintiffs also do not have standing to bring the claims

pleaded. As such, the Court DISMISSES the Plaintiffs’ claims.

                                                   II.

                                        LEGAL STANDARD

        “In deciding a Rule 12(b)(6) motion to dismiss, the court evaluates the sufficiency of the

plaintiff's complaint by accepting all well-pleaded facts as true, viewing them in the light most

favorable to the plaintiff.” TF-Harbor LLC v. City of Rockwall Tex., 18 F. Supp. 3d 810, 816 (N.D.

Tex. 2014) (internal quotations omitted) (reviewing standing). To survive the motion, plaintiffs must

plead “enough facts to state a claim to relief that is plausible on its face.” Id. (citing Bell Atl. Corp.

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v. Twombly, 550 U.S. 544, 570 (2007) (internal quotations omitted). “Factual allegations must be

enough to raise a right to relief above the speculative level[.]” Twombly, 550 U.S. at 555.

        A Rule 12(b)(1) motion to dismiss for lack of jurisdiction can support either a facial or factual

challenge to subject matter jurisdiction. TF-Harbor, 18 F. Supp. 3d at 817. A facial challenge is one

in which a party does not include evidence with its motion, and a court uses the 12(b)(6) standard

to assess the plaintiff’s pleadings. Id. A factual challenge is one in which a party includes evidence.

Then “the court is free to weigh the evidence and satisfy itself as to the existence of its power to hear

the case.” Id. (quoting Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981)).

                                                   III.

                                              ANALYSIS

A. Dismissal Based on Failure to Prosecute

        When a plaintiff fails to respond to a motion to dismiss and fails to otherwise meaningfully

participate in a case despite repeated opportunities to do so, the district court is within its discretion

to dismiss the case. Boudwin v. Graystone Ins. Co., Ltd., 756 F.2d 399, 401 (5th Cir. 1985) (discussing

how a “district court may dismiss sua sponte, with or without notice to the parties” a claim for failure

to prosecute).

        Here, lesser sanctions than dismissal have been pursued, and additional measures would be

ineffective. For example, the Court has already communicated an explicit warning to Plaintiffs that

their claims could be dismissed through its Order Setting a Status Conference (Doc. 33). Because

Plaintiffs have failed to register for ECF, the Court has sent this and other orders to Plaintiffs in an

attempt to impress upon Plaintiffs the need to participate in the case. The Court even called Mr.

Benavides, who acknowledged that he and his co-Plaintiffs were aware of the repercussions of a

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failure to attend the hearing. Still no one attended the hearing nor responded to the City’s Motion.

As the Fifth Circuit has stated, “even a non-lawyer should realize the peril to her case, when she

ignores the necessity to obtain new counsel, ignores numerous notices, and fails to attend hearings

and depositions.” Anthony v. Marion County General Hospital, 617 F.2d 1164, 1169 (5th Cir. 1980).

        As such, this Court is warranted in dismissing Plaintiffs’ claims for failure to prosecute.

B. Dismissal Based on Lack of Standing

        Even if this Court did not dismiss based on Plaintiffs’ failure to prosecute, dismissal is proper

because Plaintiffs do not have standing.

        The judicial power of federal courts is limited by Article III of the Constitution. Rivera v.

Wyeth–Ayerst Labs., 283 F.3d 315, 318 (5th Cir. 2002). “[T]he Constitution’s central mechanism

of separation of powers depends largely upon common understanding of what activities are

appropriate to legislatures, to executives, and to courts.” Id. (quoting Lujan v. Defenders of Wildlife,

504 U.S. 555, 559–60 (1992)). Constitutional or Article III standing “‘is an essential and unchanging

part of the case-or-controversy requirement of Article III.’” Ford v. NYLCare Health Plans of Gulf

Coast, Inc., 301 F.3d 329, 332 (5th Cir. 2002) (quoting Lujan, 504 U.S. at 560). Even when standing

is not raised by the parties, the Court must, where necessary, raise the issue sua sponte. Collins v.

Mnuchin, 896 F.3d 640, 654 n.83 (5th Cir. 2018) (citing Ford, 301 F.3d at 331–32).

        The party invoking federal jurisdiction bears the burden of proof in establishing all three

elements of Article III standing. Ford, 301 F.3d at 332. To satisfy the prerequisites of Article III

standing, Plaintiffs must show they: (1) suffered an injury in fact (one that is “concrete and

particularized” and “actual or imminent, not conjectural or hypothetical”); (2) there is a causal

connection between the injury and the challenged conduct of the defendants; and (3) the injury will

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likely be redressed by a favorable decision. Lujan, 504 U.S. at 559-60 (1992). An association has

standing to bring suit on behalf of its members only if “its members would otherwise have standing

to sue in their own right.” Texans United for a Safe Econ. Educ. Fund v. Crown Cent. Petroleum Corp.,

207 F.3d 789, 792 (5th Cir. 2000) (citing Hunt v. Washington State Apple Advertising Comm’n, 432

U.S. 333, 343 (1977)). Associations that seeks to bring suit in their own right “cannot manufacture

standing merely by inflicting harm on themselves based on their fears of hypothetical future harm

that is not certainly impending.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013). The

association’s injury must be concrete and demonstrable—something more than simply a setback to

the organization’s abstract social interests. Havens Realty Corp. v. Coleman, 455 US 363, 379 (1982).

        “The standing question thus bears close affinity to questions of ripeness—whether the harm

asserted has matured sufficiently to warrant judicial intervention.” Warth v. Seldin, 422 U.S. 490, 499

n.10 (1975). These concepts are often addressed together. Id. A claim has not ripened if it “rests

upon contingent future events that may not occur as anticipated, or indeed may not occur at all.”

Texas v. United States, 523 U.S. 296, 300 (1998) (internal quotations omitted).

        Here, the City argues in its Motion to Dismiss that Plaintiffs do not have standing in large

part because they have not sufficiently alleged injury in fact, under neither a facial or factual review.

Doc. 17, Mot. Dismiss, 12. Plaintiffs have failed to respond. In their pleadings—the only substantive

filings Plaintiffs submitted—Plaintiffs state in a conclusory manner that they “have standing as

property owners on streets named after Confederate Generals/leaders, as African Americans, as

members of the Committee and the Assembly, and also as residents of Dallas County and the City

of Dallas.” Doc. 6, Am. Compl. ¶ 60. After reviewing the briefings, the Court finds that Plaintiffs

have not demonstrated injury in fact because no actual injury has occurred or is imminent. A review

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using the 12(b)(1) standard for factual attacks makes this clear.

       With respect to the standing arguments expressly alleged by Plaintiffs, the Committee and

Assembly have standing only insofar as at least one of their groups members does. See Am. Compl.,

¶ 52 (citing Bray v. Fenves, No. 06-15-00075-CV, 2016 WL 3083539 (Tex. App.—Texarkana Mar.

24, 2016) (no standing found when appellants asserted that an association had standing to sue on

behalf of its members). In addition, only Mr. Muhammad is alleged to own property on a street

named after a Confederate leader. Therefore the Court’s analysis focuses on whether Mr.

Muhammad has standing—if he does not, then no other Plaintiff has standing either.

       The crux of Plaintiffs’ Complaint seems to be their confusion on whether the City Council

Resolution on April 25, 2018, modified the Code and thus prohibits Plaintiffs from renaming streets

like Marilla or Ewing. Am. Compl., ¶ 42. But given the evidence presented by the City, this is a false

conclusion. The Resolution reads:

       That Dallas streets with names linked to the Confederacy, including Lee Parkway,
       Gano, Stonewall, Beauregard, and Cabell, shall not be renamed because of the
       significant residents’ opposition on Lee Parkway, the contributions to Dallas of the
       Gano and Cabell families, and the unclear origins and associations (based on
       inclusive City of Dallas records and archives) of the Beauregard and Stonewall
       names.

Doc. 18, Defs.’ App. 47. This language does not change the City Code. The City simply decided not

to take action on the Task Force’s recommendations as to street names. Neither Marilla nor Ewing

were considered in the Resolution.

       Without the alleged procedural change, Plaintiffs have no case. Plaintiffs themselves

acknowledge that at least prior to the City’s Resolution, the city ordinances specified a procedure for

changing these street names. Id. ¶ 45 (citing the relevant Code sections). That procedure may be


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initiated only by: “an owner of property abutting the street,” or certain city officials or commissions.

Dallas City Code § 51A-9.302(b). A property owner who wishes to initiate the street-name change

process must file an application that includes a petition indicating that at least fifty-one percent of

the owners of all lots abutting the street favor the name change. Id. § 51A-9.303. Plaintiffs have not

alleged that Mr. Muhammad initiated the street name change process as described in the Code. See

Am. Compl., ¶ 44. Therefore, Mr. Muhammad’s injury is hypothetical, not actual or imminent,

because he has failed to even attempt to initiate the proper procedure. Whether he is injured is

dependent on future events that may never occur.

        Considering these facts—and cognizant of the fact that the party invoking federal jurisdiction

bears the burden of proof in establishing all three elements of Article III standing—the Court finds

that all three of Plaintiffs’ claims fail for lack of standing and ripeness. No First Amendment violation

has occurred because, inter alia, Plaintiffs are free to seek name changes under the Code. And even

if the City had amended its Code to prohibit the renaming of certain streets, the Plaintiffs’ Amended

Complaint does not explain with particularity what injury has occurred. For example, the Amended

Complaint does not explain how the preservation of certain street names prevents the Plaintiffs from

expressing their own political view points. See Patterson v. Rawlings, 287 F. Supp. 3d 632, 641 (N.D.

Tex. 2018) (plaintiff lacked standing for his First Amendment claim because City’s removal of a

Confederate monument did not prohibit plaintiff from expressing his political viewpoint). There are

many cases that stand for the proposition that the presence or removal of the names of Confederate

leaders or Confederate symbols on government property does not implicate the First Amendment

and nor confer standing. See, e.g., id.; Moore v. Bryant, 853 F.3d 245, 248, 252–53 (5th Cir. 2017)

(holding no standing to contest Mississippi’s inclusion of the Confederate flag on its own state flag).

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        Plaintiffs’ due process claim fails as well. See Doc. 6, Am. Compl., ¶¶ 55–56 (decrying the

lack of procedural due process). Contrary to the Plaintiffs’ allegations, the City has not changed the

process for amending street names, so no procedural violations have occurred. And Plaintiffs have

not provided more than conclusory allegations of a constitutionally protected interest in the City’s

street names. See id. In addition, Plaintiffs’ volunteer work with the Assembly and the Committee

is insufficient to create a cognizable interest. See Hale v. Bexar Cty, Tex., 342 F. App’x 921, 927 (5th

Cir. 2009) (holding that “there is no constitutionally cognizable interest in a volunteer position”).

        Finally, Plaintiffs’ equal protection claim also fails. See id. ¶ 57. Plaintiffs point out that on

the same day the City Council voted to prohibit renaming streets in Dallas after Confederate

Generals and/or leaders, the City Council held a hearing on renaming a different street, “Unnamed

FN3.” Id. ¶¶ 43, 57. Plaintiffs do not allege that the City made a decision about this street, and even

if it had, this would be insufficient to give rise to more than a speculative inference that an equal

protection violation had occurred.

                                                   IV.

                                           CONCLUSION

        For these reasons, the Court DISMISSES the Plaintiffs’ claims, and GRANTS Defendants’

Motion to Dismiss (Doc. 16).

        SO ORDERED.

        SIGNED: October 19, 2018.


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                                                JANE J. BOYLE
                                                UNITED STATES DISTRICT JUDGE


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